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UNITED STATES DISTRICT COURT
DISTRICT OF UTAH, CENTRAL DIVISION

-———

APOTHECARY MOVEMENT, LLC, a Utah

limited liability company, DECLARATION OF AVI ALHAKIM IN
stainitte SUPPORT OF MOTION TO SET ASIDE
am, DEFAULT JUDGMENT AND TO
vs VACATE WRIT OF GARNISHMENT
FOR LACK OF JURISDICTION
BH ELEGANT LINENS, LLC dbas AA
WHOLESALE DEALS; and SWIFT |
INNOVATIONS, a New York limited liability |
company,

Civil No, 2:23-cv-00845-HCN-DAO
Defendants, ivil No. 2:23-cv-008
Judge Howard C, Nielson, Jr.

]
I, Avi Alhakim, a resident of the State of New Jersey, United States of America, hereby

Declare under oath and penalty of perjury as follows:

1. Tam the member-manager of Swift Innovations, LLC, a New Jersey Limited Liability
Company and, having caused Swift Innovations, LLC to be formed, I have firsthand
knowledge of its formation as a legal entity under the laws of New Jersey.

2. I was previously member-manager of BH Elegant Linens, LLC, a New York Limited

Liability Company and, having caused BH Elegant Linens, LLC to be formed, I have

firsthand knowledge of its formation as a legal entity under the laws of New York.

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- Swift Innovations, LLC was formed on October 17, 2023. Exhibit 1 is a true and
accurate copy of the Certification of Formation I received on or about that date from
the New Jersey Department of the Treasury, Division of Revenue and Enterprise
Services.

- The Internal Revenue Service on October 17, 2023 assigned Swift Innovations, LLC,

Employer Identification No. XX-XXXXXXX. Exhibit 2 is a true and accurate copy of a

notice I received on or about that date from the IRS assigning Swift that Employer

Identification Number,

BH Elegant Linens, LLC was formed on November 23, 2020. Exhibit 3 is a true and

accurate copy of the Articles of Organization of BH Elegant Linens, LLC on or

around that same date.

6. Exhibit 4 is a true and accurate copy, with financial information redacted, of the 2022

federal tax return for BH Elegant Linens, LLC, reflecting that the IRS assigned BH

Elegant Linens, LLC, Employer Identification No. XX-XXXXXXX.
of December 1, 2023,

Further Declarant sayeth not.

Dated: April 15, 2024 Signed: fa blebs

Subscribed and sworn before me:

